 

Case 1:21-cr-00229-RBJ Document 241-1 Filed 04/08/22 USDC Colorado

Please remember, you may submit a question only to the witness in this case, not to the Judge or attorneys.

 

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Juror Questioning
Procedure

Please write your question
in a clear and legible manner.

Your question must be
submitted in writing and using
this form. Please do not
identify yourself in any way on
the form.

The Judge will make a
determination whether or not
the question is proper. The
Judge will use the same
standards that are applied to
questions offered by attorneys.
Existing rules of law, evidence,
and procedures apply to every
question that is asked.

The Judge may need to
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make the question clearer to the
witness.

If the question can be

: asked, the Judge will read it to

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time before the witness is
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Question No. 22

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OC) Denied
C) Rephrased

ACTION BY THE COURT:

 

 

 

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Juror Question (s)

Please remember, you may submit a question only to the witness in this case, not to the Judge or attorneys.

 

For Witness:

 

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Question No. 25

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ACTION BY THE COURT:

 

 

 

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Juror Question (s)

 

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For Witness: wy UW Wh diy

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Juror Question (s)

Please remember, you may submit a question only to the witness in this case, not to the Judge or attorneys.

For Witness: Uy Nn Ww ite Juror Questioning

 

 

 

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Question No. Zz $

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Page 7 of 12
Case 1:21-cr-00229-RBJ Document 241-1 Filed 04/08/22 USDC Colorado

 

Please remember, you may submit a question only to the witness in this case, not to the Judge or attorneys.

 

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Question No. Ze

 

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Juror Question (s)

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For Witness:

 

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For Witness:

 

Juror Questioning
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Question No. _ 22.5

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Juror Question (s)

Case 1:21-cr-00229-RBJ Document 241-1 Filed 04/08/22 USDC Colorado Page 12 of 12

Please remember, you may submit a question only to the witness in this case, not to the Judge or attorneys.

For Witness: K ch CUhirtwer

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Question No. Z /

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